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       COMMUNICATION CO. LTD.
   7

   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10

  11   TCT MOBILE (US) INC. AND                 Case No. 8:20-cv-00702-JVS-ADS
       HUIZHOU TCL MOBILE
  12   COMMUNICATION CO. LTD.,                  MEMORANDUM OF POINTS
                                                AND AUTHORITIES IN
  13                 Plaintiff,                 OPPOSITION TO DEFENDANT
                                                CELLULAR
  14         v.                                 COMMUNICATIONS
                                                EQUIPMENT LLC’S RENEWED
  15   CELLULAR COMMUNICATIONS                  MOTION TO DISMISS
       EQUIPMENT LLC,
  16                                            Date:        August 3, 2020
                     Defendant.                 Time:        1:30 p.m.
  17                                            Courtroom:   10C
                                                Judge:       Hon. James V. Selna
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  28                                                  MEMORANDUM OF POINTS AND AUTHORITIES
                                                         IN OPPOSITION TO RENEWED MOTION TO
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   1   I.    INTRODUCTION
   2         This is a patent dispute between two companies based in Irvine, California.
   3   Cellular Communications Equipment LLC (“CCE”) is a patent monetization entity
   4   owned by Acacia Research. The overlapping officers of CCE and Acacia are
   5   predominantly in Irvine, California. TCT Mobile (US) Inc. (“TCT Mobile U.S.”) is
   6   also based in Irvine and is the only TCL-related entity that imports and sells the
   7   accused Android phones in the United States. Google develops the Android code
   8   accused of infringement and is similarly headquartered in California.
   9         In March 2020, CCE filed a patent case in the Eastern District of Texas
  10   against TCL-related entities located in China. CCE does not allege any specific
  11   acts of direct infringement in the U.S. by any of the foreign defendants, nor can it.
  12   Rather, CCE repeatedly alleges that the Chinese companies “control” or conduct
  13   business “through or in concert with” TCT Mobile U.S. Yet TCT Mobile U.S. is
  14   not named as a defendant in the Texas action. How did we get into this situation?
  15         CCE is known as a “Highly Assertive Entity,” a company with “a business
  16   model focused solely or significantly on deriving economic benefit from asserting
  17   patent rights in legal proceedings.”1 The Eastern District of Texas had been the
  18   most popular district for such patent assertion entities, but this changed after TC
  19   Heartland, which restricted venue in patent cases. New patent lawsuit filings in the
  20   Eastern District plummeted more than 65% the following year. 2
  21         NPEs such as CCE devised a workaround. Venue for foreign defendants is
  22   proper in any district. In re HTC Corp., 889 F.3d 1349, 1357-58 (Fed. Cir. 2018).
  23   So, to maintain a suit in the Eastern District of Texas, CCE only sued five TCL-
  24   related entities based in China. Motion at Ex. C, ¶¶ 2-6. CCE then asserted direct
  25   infringement of a method claim based on alleged “testing” of the accused phones.
  26   1
        Analysis of Patent Litigation in the Eastern District of Texas, Docket Navigator, at
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   1   But CCE never alleges that the foreign defendants test products in the U.S., nor can
   2   it. None of the named foreign defendants make, sell, offer for sale, use, or import
   3   the accused products into the U.S. See infra at 3-4. To address this issue, CCE has
   4   advanced an unsupported theory that these foreign entities somehow “control” or
   5   work “in concert with” TCT Mobile U.S. At the same time, CCE has intentionally
   6   omitted TCT Mobile U.S. from the Texas lawsuit, because naming TCT Mobile
   7   U.S. would defeat venue in Texas. And depending on the outcome, CCE may still
   8   be able to sue TCT Mobile U.S. for infringement in a future lawsuit.
   9         To remedy this unjust and judicially inefficient situation, the most interested
  10   parties filed a declaratory judgment action in this Court: TCT Mobile U.S. and
  11   Huizhou TCL Mobile Communication Co. Ltd. (“Huizhou TCL”), the manufacturer
  12   of the accused products. CCE can counterclaim for infringement and bring all
  13   defendants in the Texas litigation into this action, who will not object to venue or
  14   personal jurisdiction in this Court, for this case only. Benson Decl. ¶ 11. In this
  15   way, CCE’s infringement claims can be resolved in a single litigation, with all
  16   interested parties participating, and in the most convenient and interested forum.
  17         Federal Circuit precedent supports exercising jurisdiction in this situation,
  18   even if it is the second-filed case. Numerous exceptions to the “first-filed” rule
  19   apply under these facts. First, TCT Mobile U.S. is clearly a “necessary or desirable
  20   party,” as it is central to this dispute, but it cannot be joined to the Texas action
  21   because venue would be improper. Second, this is the only Court in which all of
  22   CCE’s claims for infringement of the ’923 patent by all TCL-related entities can be
  23   resolved in a single case, to avoid multiplicity of litigation. Third, TCT Mobile
  24   U.S. has the strongest interest in this patent dispute, as the only entity that can
  25   potentially be held liable for importing and selling the accused products in the U.S.
  26   This further weighs in favor of a forum where TCT Mobile U.S. can participate in
  27   the litigation. And finally, the balance of convenience factors strongly favors this
  28   forum. CCE’s motion to dismiss or stay this case should be denied.
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
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   1   II.   FACTUAL BACKGROUND
   2         A.     To Obtain Venue in the Eastern District of Texas, CCE Only
                    Named as Defendants Foreign TCL Entities That Do Not Import
   3                or Sell the Accused Products in the United States
   4         On March 17, 2020, CCE filed its Original Complaint in the Eastern District
   5   of Texas, asserting infringement of U.S. Patent No. 7,218,923 (“the ’923 patent”)
   6   by two defendants, TCL Corporation (“TCL Corp.”) and TCL Electronics Holdings
   7   Limited (“TCL Electronics”). TCT Mobile U.S.’s Amended Complaint, D.I. 20-2,
   8   Ex. B. CCE’s Complaint alleged that TCL Corp. is a Chinese corporation with its
   9   principal place of business in China, and that TCL Electronics is a Cayman Islands
  10   company with its principal place of business in Hong Kong. Id., Ex. B ¶¶ 2-3.
  11         After Plaintiffs TCT Mobile U.S. and Huizhou TCL filed their Complaint in
  12   this action, infra at 5-6, CCE filed an Amended Complaint in the Eastern District of
  13   Texas—but intentionally omitted TCT Mobile U.S. CCE added three new foreign
  14   defendants: TCL Communication Technology Holdings Limited (“TCL
  15   Communication”), Huizhou TCL Mobile Communication Co. Ltd. (“Huizhou
  16   TCL”) and TCT Mobile U.S. International Ltd. (“TCT HK”). TCT Mobile U.S.’s
  17   Amended Complaint, D.I. 20-4, Ex. D, ¶¶ 2-36. CCE’s Amended Complaint
  18   alleges that TCL Communication is a Cayman Islands company with its principal
  19   place of business in China; that Huizhou TCL is a Chinese company with its
  20   principal place of business in China; and that TCT International is a Hong Kong
  21   company with its principal place of business in Hong Kong. Id. ¶¶ 3-5.
  22         None of the foreign defendants named in the Texas litigation are involved in
  23   any business activities in the U.S. related to the accused products. TCL Corp., TCL
  24   Electronics, and TCL Communication are mere holding companies, their business
  25   activities only consisting of the holding of their subsidiaries. Zhou Decl. ¶ 6; Yin
  26   Decl. ¶ 6; Yeh Decl. (TCL Communication) ¶ 6. None of TCL Corp., TCL
  27   Electronics, or TCL Communication “design, develop, manufacture, sell, offer for
  28   sale, use, import, export, or distribute any of the products identified in CCE’s
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
                                                 3             IN OPPOSITION TO RENEWED MOTION TO
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    1   Complaint,” nor do they place such products into the stream of commerce. Zhou
    2   Decl. ¶ 7; Yin Decl. ¶ 7; Yeh Decl. (TCL Communication) ¶ 7. Moreover, while
    3   CCE often asserts that TCL Corp. is the parent company of the other foreign
    4   defendants, everything cited by CCE is dated before 2019. TCL Corp. divested
    5   itself of any interest in the other defendants in March 2019. Yin Decl. ¶¶ 8-13.
    6         Huizhou TCL and TCT HK are the only two defendants named in the Texas
    7   litigation that are actively engaged in the business of mobile phones, but they do
    8   not conduct such business activities in the United States. Huizhou TCL
    9   manufactures the accused products in China, but it “does not … and did not, make,
   10   use, offer to sell, or sell in the United States, or import into the United States” any
   11   of the accused products or other mobile phones. Yeh Decl. (Huizhou TCL) ¶ 7.
   12   Similarly, TCT HK sells the accused products in China, but it likewise “does not …
   13   and did not, make, use, offer to sell, or sell in the United States, or import into the
   14   United States” any of the accused products. Yeh Decl. (TCT HK) ¶ 7.
   15         Consistent with the evidence presented in support of this Opposition, a
   16   careful review of CCE’s Amended Complaint reveals that CCE does not allege that
   17   any of the five foreign defendants themselves engage in any specific acts of
   18   infringement in the United States. For direct infringement, CCE alleges that
   19   Defendants “either by themselves or via an agent” infringe the ’923 patent by
   20   “practicing the method of claim 1 via at least its testing of the native Messaging
   21   application in its Android phones.” TCT Mobile U.S.’s Amended Complaint, D.I.
   22   20-4, Ex. D ¶ 48. CCE does not allege any facts of testing in the U.S., by any of the
   23   named foreign defendants or otherwise. Id. CCE’s claims are thus based primarily
   24   on an allegation of indirect infringement, namely, that “Defendants instruct and
   25   encourage users to use the Accused Products in a manner that infringes the ’923
   26   patent.” Id. ¶¶ 53-54. CCE seeks damages and injunctive relief. Id. at pp. 18-19.
   27         CCE improperly served the Original Complaint in the Texas litigation, which
   28   led to early communications between counsel for the parties. Johnson Decl. ¶¶ 3-6.
                                                               MEMORANDUM OF POINTS AND AUTHORITIES
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    1   During those discussions, counsel for the named defendants requested a five-month
    2   extension to respond to the complaint to relieve CCE of the extensive delays and
    3   rigors of serving defendants in China pursuant to the Hague Convention. Id. It is
    4   counsel’s recent experience that serving defendants in China, as required under the
    5   Hague Convention, can take from 8 to 12 months, and due to the current pandemic,
    6   it may take even longer. Id. ¶ 7. The parties ultimately agreed on an extension of
    7   time to respond to the Amended Complaint, for all five foreign defendants, to
    8   September 7, 2020, based on the defendants’ waiver of service. Id. ¶¶ 8-13.
    9         The reason for the elongated extension of time in Texas was that it
   10   eliminated the need for service under the Hague Convention, which would have
   11   taken much longer. Id. ¶¶ 3-13. Complications due to the coronavirus were
   12   mentioned, given the location of the defendants in China, but were not the primary
   13   basis for the extension. Id. CCE’s failure to mention waiver of service under the
   14   Hague Convention is disingenuous, at best, and its assertion that counsel in this
   15   action used Covid-19 as the sole basis for this extension is simply false. Id.
   16         B.     TCT Mobile U.S. and Huizhou TCL Filed this Complaint So the
                     Manufacturer of the Accused Products and the Only Entity
   17                Importing and Selling in the U.S. Could Be Joined in a Single Case
   18         On April 9, 2020, prior to CCE filing an Amended Complaint in the Texas
   19   litigation, TCT Mobile U.S. and Huizhou TCL filed a Complaint for declaratory
   20   judgment of non-infringement in this Court. On June 22, 2020, Plaintiffs filed an
   21   Amended Complaint in this Court to resolve one of the issues raised by CCE’s prior
   22   motion to dismiss regarding its pleading of non-infringement. TCT Mobile U.S.
   23   and Huizhou TCL seek a declaration that none of the accused phone products
   24   infringe the ’923 patent and that none of their activities directly or indirectly
   25   infringe the patent. TCT Mobile U.S.’s Amended Complaint, D.I. 20, ¶¶ 20-23.
   26         TCT Mobile U.S. and Huizhou TCL filed this action because they are the
   27   two entities that are most interested in the outcome of the litigation and neither
   28   entity was named in CCE’s Original Complaint in the Eastern District of Texas.
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
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    1   Huizhou TCL manufactures the accused products, and more generally, is the only
    2   TCL entity whose principal activities include manufacturing. Id. ¶ 13. Huizhou
    3   TCL manufactures mobile phone products in China, including the accused
    4   products. Yeh Decl. (Huizhou TCL) ¶ 2. Huizhou TCL does not and has not
    5   engaged in making, using, selling, offering for sale, or importing the accused
    6   products in the U.S. Id.
    7         TCT Mobile U.S. is the TCL-related entity that imports the accused products
    8   into the U.S. and then sells the products in the U.S. Amended Complaint, D.I. 20,
    9   ¶ 14; Yeh Decl. ¶ 6. “TCL Mobile (US) Inc. is the TCL-related entity that is
   10   responsible for and engaged in importing, selling, and marketing the Accused
   11   Products in the United States.” Id. As further explained elsewhere, TCT Mobile
   12   U.S. is at the center of CCE’s claims and is the most interested party in the outcome
   13   of this dispute, yet it is excluded from the Texas litigation.
   14         C.     TCT Mobile U.S. Cannot Be Added to the Texas Litigation
                     Because Venue is Improper in the Eastern District of Texas
   15

   16         Venue over TCT Mobile U.S. would be improper in the Eastern District of
   17   Texas. Thus, TCT Mobile U.S. was not named as a defendant in the Texas
   18   litigation, nor can it be added as a defendant in the Texas action. Presumably, this
   19   is the reason that CCE has moved to dismiss or stay the present action and did not
   20   move to transfer this action to the Eastern District of Texas.
   21         Under 28 U.S.C. § 1400(b), “Any civil action for patent infringement may be
   22   brought in the judicial district where the defendant resides, or where the defendant
   23   has committed acts of infringement and has a regular and established place of
   24   business.” In TC Heartland LLC v. Kraft Foods Group Brands LLC, the U.S.
   25   Supreme Court held that a domestic corporation only “resides” in its state of
   26   incorporation. 137 S. Ct. 1514, 1521 (2017). Accordingly, venue over TCT
   27   Mobile U.S. does not exist in the Eastern District of Texas. TCT Mobile U.S. is
   28   incorporated in Delaware and has its principal place of business in Irvine,
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
                                                    6            IN OPPOSITION TO RENEWED MOTION TO
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    1   California. Yeh Decl. (TCT Mobile U.S.) ¶¶ 3-4. TCT Mobile U.S. does not own
    2   or lease any real property in Texas; has no offices, facilities, places of business or
    3   other physical location in Texas; and has no employees or agents in Texas. Id. ¶ 7.
    4   III.   MULTIPLE EXCEPTIONS TO THE FIRST-TO-FILE RULE AND
               JUDICIAL EFFICIENCY WEIGH STRONGLY AGAINST A
    5          DISMISSAL OR STAY OF THIS ACTION
    6          A.    Exceptions to the First-To-File Rule Are “Not Rare” and Are
                     Made Based on the Just and Effective Disposition of Disputes and
    7                the Convenience and Suitability of Competing Forums
    8          When an infringement action and a declaratory judgment action are pending
    9   in two different courts, the “general rule favors the forum of the first-filed action,”
   10   but “courts have discretion to make exceptions to this general rule in the interest of
   11   justice or expediency.” Micron Tech., Inc. v. Mosaid Techs., Inc., 518 F.3d 897,
   12   904 (Fed. Cir. 2008). Accord, Genentech, Inc. v. Eli Lilly and Co., 998 F.2d 931,
   13   937 (Fed. Cir. 1993), cert. denied, 510 U.S. 1140 (1994), abrogated on other
   14   grounds, Wilton v. Seven Falls Co., 515 U.S. 277 (1995). “Application of the first-
   15   to-file rule is generally a matter for a district court’s discretion, exercised within
   16   governing legal constraints.” Futurewei Techs., Inc. v. Acacia Research Corp., 737
   17   F.3d 704, 708 (Fed. Cir. 2013).
   18          Exceptions to the “first-filed” rule “are not rare, and are made when justice or
   19   expediency requires.” Genentech, 998 F.2d at 937. Exceptions may be made if
   20   justified by “considerations of judicial and litigant economy, and the just and
   21   effective disposition of disputes.” Futurewei, 737 F.3d at 708; Elecs. for Imaging,
   22   Inc. v. Coyle, 394 F.3d 1341, 1347 (Fed. Cir. 2005). “The first-filed suit rule …
   23   will not always yield the most convenient and suitable forum. Therefore, the trial
   24   court weighing jurisdiction additionally must consider the real underlying dispute:
   25   the convenience and suitability of competing forums.” Micron, 518 F.3d at 904.
   26   When patent rights are at issue, Federal Circuit precedent governs whether the first-
   27   filed rule should be applied to accepting jurisdiction over a declaratory judgment
   28   action. Commc’ns Test Design, Inc. v. Contec, LLC, 952 F.3d 1356, 1362 (Fed.
                                                               MEMORANDUM OF POINTS AND AUTHORITIES
                                                    7             IN OPPOSITION TO RENEWED MOTION TO
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    1   Cir. 2020); Futurewei, 737 F.3d at 708; Genentech, 998 F.2d at 938.
    2         The Federal Circuit has expressed concern that both patent holders and
    3   declaratory judgment filers may have the incentive and opportunity to “race to the
    4   courthouse.” Therefore, when deciding which of two parallel actions should
    5   proceed, district courts “should not reach a decision based on any categorical rules”
    6   based on the timing of the actions but rather “consider the real underlying dispute:
    7   the convenience and suitability of competing forums.” Micron, 518 F.3d at 904.
    8         “The convenience and availability of witnesses, absence of jurisdiction
    9         over all necessary or desirable parties, possibility of consolidation with
   10         related litigation, or considerations relating to the interest of justice
   11         must be evaluated to ensure the case receives attention in the most
   12         appropriate forum. Eventually, robust consideration of these factors
   13         will reduce the incentives for a race to the courthouse because both
   14         parties will realize that the case will be heard or transferred to the most
   15         convenient or suitable forum.”
   16   Id. at 904-05. Accord, Commc’ns Test Design, 952 F.3d at 1362. Considerations
   17   relating to the real party in interest also impact whether the second-filed case should
   18   be stayed or dismissed. Futurewei, 737 F.3d at 708; Genentech, 998 F.2d at 938.
   19         B.     This Action Should Not Be Dismissed or Stayed Because TCT
                     Mobile U.S. Is a “Necessary or Desirable Party” and Cannot Be
   20                Joined to the Texas Litigation Due to Lack of Venue
   21         CCE’s Amended Complaint in the Eastern District of Texas demonstrates
   22   that TCT Mobile U.S. is central to the infringement claims and to this patent
   23   dispute. One of the primary exceptions to the “first-to-file” rule is where there is an
   24   “absence of jurisdiction over all necessary or desirable parties” in the first-filed
   25   case. Futurewei, 737 F.3d at 708. That is exactly the situation presented here.
   26         The only specific claim asserted in CCE’s Amended Complaint is method
   27   claim 1 of the ’923 patent. A company that does not practice a patented method in
   28   the United States cannot be liable for direct infringement. 35 U.S.C. § 271(a);
                                                               MEMORANDUM OF POINTS AND AUTHORITIES
                                                    8             IN OPPOSITION TO RENEWED MOTION TO
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    1   Crystal Semiconductor Corp. v. TriTech Microelectronics Int’l, Inc., 246 F.3d
    2   1336, 1351 (Fed. Cir. 2001). “A defendant can only directly infringe a method
    3   claim ... by ‘using’ the method within the United States, which requires that the
    4   defendant practice every step of the method within the United States.” France
    5   Telecom S.A. v. Marvell Semiconductor Inc., 82 F. Supp. 3d 987, 993 (N.D. Cal.
    6   2015). “To infringe a method claim, a person must have practiced all steps of the
    7   claimed method.” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1317 (Fed.
    8   Cir. 2009), cert. denied, 130 S. Ct. 3324 (2010). Thus, in Summit 6 LLC v.
    9   Research in Motion Corp., the Court held that neither a foreign nor a domestic
   10   Samsung entity directly infringed a method claim because there was a lack of
   11   evidence that either company “practiced the method claims in the United States, for
   12   example, by testing the product.” No. 3:11-cv-367, 2013 WL 12124321, at *4
   13   (N.D. Tex. June 26, 2013) (simply creating software that directly infringes a
   14   method claim cannot constitute direct infringement).
   15         CCE’s sole theory of direct infringement is recited in paragraph 48 of its
   16   Amended Complaint: “On information and belief, Defendants have, and continue
   17   to, either by themselves or via an agent, infringe at least [method] claim 1 of the
   18   ’923 patent by, among other things, practicing the method of claim 1 via at least its
   19   testing of the native Messaging application in its Android phones.” TCT Mobile
   20   U.S.’s Amended Complaint, D.I. 20-4, Ex. D ¶ 48 (emphasis added). CCE admits
   21   that all named defendants have their principal places of business outside the United
   22   States. Id. ¶¶ 2-6. TCT Mobile U.S. is the only TCL-related entity responsible for
   23   importing, selling and marketing the accused products in the U.S. and it is also
   24   involved in customer support. Yeh Decl. (TCT Mobile U.S.) ¶¶ 6, 10, 11. If any
   25   alleged “testing” were done in the U.S., it would be performed by TCT Mobile
   26   U.S., which CCE apparently alleges to be an “agent” of the foreign defendants.
   27         Other allegations in CCE’s Amended Complaint further demonstrate that
   28   TCT Mobile U.S. is going to be central to any claims of direct infringement in the
                                                             MEMORANDUM OF POINTS AND AUTHORITIES
                                                  9             IN OPPOSITION TO RENEWED MOTION TO
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    1   United States. For example, CCE alleges that the named foreign defendants
    2   “control” TCT Mobile U.S. Inc. and that they have committed acts of direct and/or
    3   indirect patent infringement within the United States “directly or through
    4   intermediaries, such as TCT Mobile (US).” Id. ¶¶ 17, 18, 21, 22, 25, 26, 29, 30.
    5   Thus, CCE’s Amended Complaint confirms that TCT Mobile U.S. is going to be at
    6   the center of its direct infringement claims in the Texas litigation, even though it
    7   cannot be named as a defendant in that case.
    8         TCT Mobile U.S. is also going to be central to CCE’s claims of inducing
    9   infringement against the foreign defendants named in its Texas complaint.
   10   “Inducement only occurs if the party being induced directly infringes the patent.”
   11   Crystal Semiconductor, 246 F.3d at 1351. CCE alleges that “Defendants have
   12   specifically intended for persons who acquire and use the Accused Products,
   13   including Defendants’ customers and end consumers, to acquire and/or use such
   14   devices in a way that infringes the ’923 patent.” TCT Mobile U.S.’s Amended
   15   Complaint, D.I. 20-4, Ex. D ¶ 53. CCE does not allege that the foreign defendants
   16   themselves sell the accused products in the U.S. or that they have any interactions
   17   with “customers and end consumers.” In fact, it is TCT Mobile U.S. that sells and
   18   markets the accused products to customers and end consumers in the U.S. and is
   19   responsible for “customer support.” Yeh Decl. (TCT Mobile U.S.) ¶¶ 10-13. It is
   20   unavoidable that TCT Mobile U.S. is going to be a central player in CCE’s
   21   inducement claims against the foreign TCL entities.
   22         Where one case involves a direct infringer, and a parallel case in another
   23   forum involves indirect infringers, “it is sensible, more appropriate, and more
   24   convenient” to first adjudicate the suit that involves the direct infringement, which
   25   in this situation, is TCT Mobile U.S.’s declaratory judgment action. Ours Tech.,
   26   Inc. v. Data Drive Thru, Inc., 645 F. Supp. 2d 830, 840 (N.D. Cal. 2009). TCT
   27   Mobile U.S. has put at issue, in this declaratory judgment action, whether it
   28   infringes method claim 1 or any other claim of the ’923 patent. TCT Mobile U.S.’s
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
                                                  10             IN OPPOSITION TO RENEWED MOTION TO
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    1   Amended Complaint, D.I. 20 ¶ 21-23. Accordingly, this suit should proceed first.
    2         Because TCT Mobile U.S. is a “necessary or desirable party” to CCE’s
    3   infringement claims, TCT Mobile U.S.’s declaratory judgment action should not be
    4   stayed or dismissed, even if it was second-filed. A recent case from the District of
    5   Delaware illustrates the application of this principle. In Nexon America Inc. v.
    6   Uniloc 2017 LLC, a non-practicing entity, Uniloc 2017 LLC, brought an
    7   infringement action in the Eastern District of Texas against two foreign defendants,
    8   Nexon Japan and Nexon Korea, alleging infringement of the ’578 and ’293 patents.
    9   No. 19-1096-CFC, 2020 WL 3035647 (D. Del. June 5, 2020). A related entity,
   10   Nexon America, subsequently filed a declaratory judgment for non-infringement in
   11   the District of Delaware, and Uniloc filed a motion to dismiss under the first-filed
   12   rule. Id. at *1. Nexon America submitted a declaration that it had sole
   13   responsibility for the development, distribution and use of the accused software in
   14   the United States, not the foreign entities in the Nexon corporate family. Civ.
   15   Action No. 19-1096-CFC at D.I. 15, ¶¶ 3-5. Venue over Nexon America was not
   16   proper in the Eastern District of Texas, as it was a Delaware corporation without
   17   facilities or employees in the Eastern District of Texas. Id. at D.I. 1, ¶ 2. The Court
   18   in the second-filed declaratory judgment action denied the motion to dismiss,
   19   holding, “I will not apply the first-filed rule here because the Eastern District does
   20   not have venue over Nexon America and Nexon America is a desirable, if not
   21   necessary, party to that case.” 2020 WL 3035647, at *4.
   22         A similar issue arose in Kyocera Communications, Inc. v. Potter Voice
   23   Technologies, LLC. A non-practicing entity, Potter Voice Technologies, filed a
   24   patent infringement action in the District of Colorado alleging infringement of the
   25   ’659 patent against several defendants, including an infringement claim against
   26   Kyocera International, Inc. based on its selling of the Kyocera Echo phone and
   27   similar products. No. 13-CV-0766-H, 2013 WL 2456032, at *1 (S.D. Cal. June 5,
   28   2013). Kyocera Communications, Inc. (“KCI”), the subsidiary of Kyocera
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
                                                  11             IN OPPOSITION TO RENEWED MOTION TO
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    1   International, Inc., subsequently filed a declaratory judgment action for non-
    2   infringement. The Court denied Potter’s motion to dismiss the second-filed
    3   declaratory judgment action under the first-to-file rule because the declaratory
    4   judgment action was the first case involving KCI and it was “unclear whether KCI
    5   will be added as a party to the Colorado action.” Id. at *5.
    6         The first-filed infringement suit was also dismissed in Woodway USA, Inc. v.
    7   Samsara Fitness, LLC, in favor of a second-filed declaratory judgment suit for non-
    8   infringement. No. 15-cv-956-pp, 2016 WL 3282218 (E.D. Wis. June 14, 2016). In
    9   that case, defendants were accused of manufacturing and selling infringing
   10   treadmills. However, the forum for the second-filed declaratory judgment action
   11   had personal jurisdiction over both defendants, whereas the court with the first-filed
   12   infringement suit lacked jurisdiction and venue over Chapco, Inc., one of the two
   13   defendants. The first-filed infringement case was dismissed. The court held that
   14   because it did not have “personal jurisdiction over ‘all necessary or desirable
   15   parties,’” the patent owner was “not entitled to the benefits of the first-to-file rule.”
   16   Id. at *6. See also Silicon Labs. Inc. v. Maxlinear, Inc., No. 12-CV-1765, 2012 WL
   17   12885232 (S.D. Cal. Oct. 17, 2012) (denying a motion to dismiss infringement
   18   claims in a second-filed case where there was mere uncertainty as to whether the
   19   Court in the first-filed case had personal jurisdiction over all the parties).
   20         As established by the evidence submitted with this motion, supra at 3-4, and
   21   the allegations in CCE’s Amended Complaint, the foreign defendants in the Texas
   22   action are not themselves directly infringing the ’923 patent. The only TCL entity
   23   that is importing or selling the accused products in the United States is TCT Mobile
   24   U.S. The allegations in its Amended Complaint indicate that CCE is contending
   25   that TCT Mobile U.S. acted as the “agent” of the foreign defendants; that TCT
   26   Mobile U.S. and the foreign defendants “work in concert together … to conduct
   27   business in the United States”; and/or that the foreign defendants “control” TCT
   28   Mobile U.S. and are therefore somehow liable for its actions. TCT Mobile U.S.’s
                                                               MEMORANDUM OF POINTS AND AUTHORITIES
                                                   12             IN OPPOSITION TO RENEWED MOTION TO
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    1   Amended Complaint, D.I. 20-4, Ex. D ¶¶ 11, 16, 18, 20, 22, 24, 26, 28, 30, 32, 33,
    2   48. Accordingly, TCT Mobile U.S. is a “necessary or desirable party” to the
    3   litigation of CCE’s claims. Since it cannot be joined to the Texas action—but those
    4   defendants can be joined here—CCE’s motion to dismiss or stay should be denied.
    5          C.     This Action Should Not Be Dismissed or Stayed Because This Is
                      the Only Forum Where the Entire Dispute Can Be Resolved in a
    6                 Single Litigation
    7          The TCL entities should not be subject to multiple litigations simply because
    8   CCE—a patent monetization entity that has its principal place of business in Irvine,
    9   California—prefers to file patent cases in the Eastern District of Texas. The
   10   Central District of California is the only forum in which CCE’s infringement claims
   11   can be resolved, in their entirety, against all TCL entities, in one litigation. Judicial
   12   efficiency and conservation of the parties’ resources therefore weigh against a
   13   dismissal or stay of this action.
   14          The Federal Circuit has held that when evaluating an exception to the “first-
   15   to-file” rule, courts must consider “the importance of conservation of judicial
   16   resources and the comprehensive disposition of litigation.” Genentech, 998 F.2d at
   17   938. In exercising its discretion under the Federal Declaratory Judgment Act,
   18   district courts are counseled to give “regard to conservation of judicial resources
   19   and comprehensive disposition of litigation” and to avoid a “rigid mechanical
   20   solution.” Kerotest Mfg. Co. v. C-O-Two Fire Equip. Co., 342 U.S. 180, 183
   21   (1952) (further suggesting that forums should not be selected due to a perceived
   22   “greater hospitality to patents”). Ultimately, courts must consider the purpose of
   23   “prevent[ing] multiplicity of actions and to achieve resolution in a single lawsuit of
   24   all disputes arising out of common matters.” Genentech, 998 F.2d at 938.
   25          Where a desirable or necessary party can be a party to the second-filed action
   26   but not the first-filed case, the first-filed action should “yield to a later-filed action,
   27   in which the court may achieve a comprehensive resolution of the entire dispute.”
   28   A123 Sys., Inc. v. Hydro-Quebec, 657 F.Supp.2d 276, 279-80 (D. Mass. 2009)
                                                                MEMORANDUM OF POINTS AND AUTHORITIES
                                                    13             IN OPPOSITION TO RENEWED MOTION TO
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    1   (dismissing first-filed action where a necessary party could not be joined but was a
    2   party to the second-filed suit). See also Bridgelux, Inc. v. Cree, Inc., No. C 06-
    3   6495 PJH , 2007 WL 2022024 at *5 (N.D. Cal. July 9, 2007) (denying a motion to
    4   dismiss a second-filed declaratory judgment action for non-infringement where it
    5   appeared likely that the court in the first-filed patent infringement action lacked
    6   personal jurisdiction over Bridgelux, Inc., the plaintiff in the second-filed
    7   declaratory judgment action); Package Concepts & Materials, Inc., No. 6:05-1184-
    8   HMH, 2005 WL 3055073 at *6 (D.S.C. Nov. 14, 2005) (transferring first-filed case
    9   to forum of second-filed infringement action where court of first-filed case did not
   10   have personal jurisdiction over a necessary defendant).
   11         The present situation presents an intertwining of indirect infringement claims
   12   against foreign defendants in the Texas litigation and potential direct infringement
   13   claims that CCE might later assert against the U.S. entity, TCT Mobile U.S. As a
   14   result, there are a multitude of scenarios in which the resolution of CCE’s claims in
   15   the Texas action may not dispose of its potential claims against TCT Mobile U.S.,
   16   leading to a multiplicity of litigation if this California action is dismissed.
   17         For example, CCE’s Amended Complaint in Texas asserts that the foreign
   18   defendants directly infringe method claim 1 of the ’923 patent by allegedly
   19   “testing” products in the U.S. through an unidentified “agent” and indirectly
   20   infringe by allegedly inducing “customers and end consumers” to practice the
   21   patented method. CCE’s Amended Complaint ¶¶ 48, 53. If CCE does not prevail
   22   on these claims against the foreign defendants, it leaves open the possibility that
   23   CCE could try to sue TCT Mobile U.S. for direct infringement of the apparatus
   24   claims of the ’923 patent, as it did in prior litigation against other mobile phone
   25   defendants (Benson Decl. Ex. 15), based on TCT Mobile U.S.’s importation and
   26   sale of the accused products in the U.S. Since TCT Mobile U.S. imports and sells
   27   the accused products in the U.S., and none of the foreign defendants named in the
   28   Texas litigation are engaged in selling or importing the products into the U.S., there
                                                               MEMORANDUM OF POINTS AND AUTHORITIES
                                                   14             IN OPPOSITION TO RENEWED MOTION TO
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    1   is a very high likelihood that the Texas litigation will not resolve all of CCE’s
    2   claims against TCL-related entities, particularly TCT Mobile U.S..
    3         As another example, CCE’s direct infringement claims against the foreign
    4   TCL entities rest on an assertion of infringing method claim 1 of the ’932 patent by
    5   “testing” accused products in the U.S. CCE’s Amended Complaint ¶ 48. To the
    6   extent that the foreign defendants do not engage in such testing in the U.S.—they
    7   do not—the Texas litigation may leave unadjudicated whether TCT Mobile U.S.
    8   might be sued for any acts of testing that it may perform independent of any agency
    9   relationship with the foreign defendants.
   10         While the above scenarios might be precluded by application of rules of res
   11   judicata and claim preclusion, consolidating CCE’s claims against all TCL-related
   12   entities in this forum eliminates the potential of a multiplicity of litigation against
   13   different TCL entities based on different acts of alleged infringement of the ’923
   14   patent. This is precisely what TCT Mobile U.S. and Huizhou TCL sought to avoid
   15   in filing this declaratory judgment action. This is the only action in which CCE’s
   16   infringement claims against the TCL entities can be fully resolved in a single case,
   17   because it is the only action in which venue is appropriate over TCT Mobile U.S.
   18         If the present case is not dismissed or stayed, CCE can counterclaim for
   19   infringement and add as counter-defendants all the foreign defendants sued in the
   20   Eastern District of Texas, who have agreed not to dispute personal jurisdiction or
   21   venue in this forum for purposes of this case. Benson Decl. ¶ 11. “[A] claim for a
   22   declaration of noninfringement makes a counterclaim for patent infringement
   23   compulsory” under Rule 13(a). Polymer Indus. Prod. Co. v. Bridgestone/Firestone,
   24   Inc., 347 F.3d 935, 938 (Fed. Cir. 2003). In response to the counterclaims, counter-
   25   defendants will be required to assert all defenses to those claims, including defenses
   26   of non-infringement and invalidity. In this manner, all claims and defenses
   27   involving CCE and all TCL-related entities can be joined in this forum and resolved
   28   in a single litigation, which is not possible in the Eastern District of Texas.
                                                               MEMORANDUM OF POINTS AND AUTHORITIES
                                                    15            IN OPPOSITION TO RENEWED MOTION TO
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    1         D.     This Action Should Not Be Dismissed or Stayed Because TCT
                     Mobile U.S. Has the Strongest Interest in the Outcome of This
    2                Dispute and Cannot Be Joined in the Eastern District of Texas
    3         An independent but related reason for denying CCE’s motion to dismiss or
    4   stay is that TCT Mobile U.S. is the “real party in interest,” because it is the party
    5   that could be most impacted by the outcome of this dispute. This is another
    6   consideration that weighs strongly against dismissing or staying a second-filed
    7   declaratory judgment action and it directly applies here.
    8         When deciding whether a second-filed case should be stayed or dismissed,
    9   courts must also weigh “considerations relating to the real party in interest.”
   10   Futurewei, 737 F.3d at 708; Genentech, 998 F.2d at 938. This principle led to the
   11   development of the “customer suit” exception, in which a second-filed declaratory
   12   judgment action brought by a manufacturer is given priority over a first-filed
   13   infringement action because the manufacturer is recognized as the “real party in
   14   interest,” i.e., the party with the greatest interest in resolving the patent dispute. See
   15   Spread Spectrum Screening LLC v. Eastman Kodak Co., 657 F.3d 1349, 1357-58
   16   (Fed. Cir. 2011); Katz v. Lear Siegler, Inc., 909 F.2d 1459, 1464 (Fed. Cir. 1990).
   17         Plaintiffs do not assert the customer suit exception here, but the principles
   18   underlying that doctrine apply. TCT Mobile U.S. is the only TCL-related entity
   19   that imports and sells the accused products in the United States, and accordingly,
   20   TCT Mobile U.S. is the single TCL entity that has potential liability for direct
   21   infringement under 35 U.S.C. § 271(a). “It is well-established that the reach of
   22   section 271(a) is limited to infringing activities that occur within the United States.”
   23   MEMC Elec. Materials, Inc. v. Mitsubishi Materials Silicon Corp., 420 F.3d 1369,
   24   1375-76 (Fed. Cir. 2005). Accordingly, TCT Mobile U.S. indisputably has the
   25   strongest financial interest in the adjudication of CCE’s infringement claims.
   26         TCT Mobile U.S. is the “real party in interest” regardless of which claims of
   27   the ’923 patent are eventually asserted, whether in the Texas litigation or thereafter.
   28   If CCE asserts method claims, such as the currently asserted claim 1, TCT Mobile
                                                               MEMORANDUM OF POINTS AND AUTHORITIES
                                                   16             IN OPPOSITION TO RENEWED MOTION TO
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    1   U.S has the greatest potential exposure because it is the only TCL-entity in either
    2   litigation that does business in the United States. If CCE asserts infringement of
    3   apparatus claims, such as claim 24 (as asserted by CCE in prior litigation), once
    4   again, TCT Mobile U.S. has the greatest interest in the action because it is the only
    5   entity directly importing and selling the accused products in the U.S. No matter
    6   which claims are asserted, TCT Mobile U.S. should not be left on the sidelines
    7   while CCE litigates its infringement claims against foreign related entities and
    8   seeks damages and injunctive relief with respect to products being imported and
    9   sold in the U.S. by TCT Mobile U.S.
   10         E.     The Balance of Convenience Factors Strongly Favors the Central
                     District of California, As CCE and TCT Mobile U.S. Are Both
   11                Based in Orange County and the Most Significant Third-Party
                     Witnesses Are Also in California
   12

   13         The reasons set forth above are more than enough to support this Court
   14   exercising its jurisdiction over the declaratory judgment action filed by TCT Mobile
   15   U.S. and Huizhou TCL. However, the convenience of parties and witnesses further
   16   supports exercising jurisdiction over this action and denying CCE’s motion.
   17         “District courts, typically the ones where declaratory judgment actions are
   18   filed … will have to decide whether to keep the case or decline to hear it in favor of
   19   the other forum, most likely where the infringement action is filed. Instead of …
   20   automatically going with the first filed action, the more appropriate analysis takes
   21   account of the convenience factors under 28 U.S.C. § 1404(a).” Micron Tech., Inc.
   22   v. Mosaid Technologies, Inc., 518 F.3d 897, 904 (Fed. Cir. 2008). “The first-filed
   23   rule … will not always yield the most convenient and suitable forum. Therefore,
   24   the trial court weighing jurisdiction additionally must consider the real underlying
   25   dispute: the convenience and suitability of competing forums. In sum, the trial court
   26   must weigh the factors used in a transfer analysis as for any other transfer motion.”
   27   Id. Moreover, “[i]n patent infringement cases, the bulk of the relevant evidence
   28   usually comes from the accused infringer. Consequently, the place where the
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    1   defendant's documents are kept weighs in favor of transfer to that location.” In re
    2   Genentech, Inc., 566 F.3d 1338, 1345 (Fed. Cir. 2009).
    3         In Google Inc. v. Rockstar Consortium U.S. LP, a non-practicing entity,
    4   Rockstar Consortium U.S. LP, filed suit in the Eastern District of Texas against
    5   HTC, LG, Samsung, and other mobile phone device manufacturers alleging
    6   infringement of its patents. No. 13-5933-CW, 2014 WL 1571807 (N.D. Cal. April
    7   17, 2014). In that case, as here, Rockstar accused of infringement “certain mobile
    8   communication devices having a version (or adaption thereof) of Android operating
    9   system,” which is developed by Google. About two months later, Google filed a
   10   declaratory judgment action of non-infringement in the Northern District of
   11   California, seeking a declaration that the Android code used in mobile phone
   12   products, and its own mobile phone products using that code, did not infringe
   13   Rockstar’s patents. Id. at *2.
   14         The Northern District of California denied Rockstar’s motion to dismiss or
   15   transfer the second-filed declaratory judgment action, finding that the Court “could
   16   make an exception to the general rule giving preference [to] the first-filed case” by
   17   considering the “convenience factors” under the transfer analysis of 28 U.S.C.
   18   § 1404(a).” Id. at *9. The Court found that the convenience and availability of
   19   witnesses was the “single most important factor” in the analysis and that it favored
   20   California because (1) Google’s Android code was the target of the infringement
   21   claims and its Android platform was designed and created in California; (2) many
   22   of the relevant witnesses and other evidence related to the design and development
   23   of the Android code were located in California; and (3) there were no witnesses in
   24   Texas essential to the suit. Id. The Court also found that the Northern District of
   25   California had a greater interest in the litigation than the Eastern District of Texas
   26   because the allegedly infringing code was developed in Silicon Valley, and the
   27   Court had an interest in protecting “the work and reputation” of individuals residing
   28   in its community. Id. at 10.
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
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    1         Subsequent to the Northern District of California denying Rockstar’s motion
    2   to dismiss or transfer, Judge Gilstrap in the Eastern District of Texas denied a
    3   motion to stay or transfer the first-filed infringement suit filed by Rockstar to the
    4   Northern District of California. Rockstar Consortium US LP v. Samsung Elec.s
    5   Co., Ltd., No. 2:13-cv-00894, 2014 WL 2965880 (E.D. Tex. July 1, 2014).
    6   However, the Federal Circuit then granted a petition for a writ of mandamus and
    7   ordered the Eastern District of Texas to stay the first-filed infringement case
    8   pending the outcome of the second-filed declaratory judgment action in the
    9   Northern District of California, finding that Judge Gilstrap’s refusal to stay the
   10   infringement case was an abuse of discretion. In re Google Inc., 588 Fed. Appx.
   11   988 (Fed. Cir. Oct. 9, 2014).
   12         The facts in Munchkin, Inc. v. FRUminator, Inc., are also analogous. No.
   13   4:08CV00367-ERW, 2008 WL 2486042 (E.D. Mo. June 18, 2008). In that case,
   14   the defendant FRUminator filed an infringement suit in the Eastern District of
   15   Texas. The accused infringer, Munchkin, subsequently filed a declaratory
   16   judgment action of non-infringement in the Eastern District of Missouri, and the
   17   patentee moved to dismiss or stay the second-filed declaratory judgment action.
   18   The court denied the motion because factors of convenience strongly favored the
   19   forum of the second-filed declaratory judgment action. The Court found that
   20   patentee was incorporated in Missouri, had its principal place of business in the
   21   Eastern District of Missouri, and that “the majority of relevant witnesses and
   22   evidence is located in the Eastern District of Missouri.” Id. at *2. The Court
   23   concluded that it would be appropriate to continue the second-filed declaratory
   24   judgment action and refused to dismiss, transfer, or stay the action. Id. See also
   25   Pacific Coast Bldg. Prod., Inc. v. CertainTeed Gypsum Mfg., Inc., No. 4:18-cv-
   26   4165, 2019 WL 4046550 at *6 (W.D. Ark. Aug. 27, 2019) (staying first-filed
   27   infringement action in favor of second-filed declaratory judgment action in the
   28   Northern District of California, finding it was the “more convenient form” where
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    1   the plaintiffs were located on the west coast, “many of the potential witnesses in
    2   this action reside there,” and defendants had previously been sued in the forum);
    3   Metropolitan Life Ins. Co. v. Bancorp Serv., LLC, No. 4:07-cv-1338, 2007 WL
    4   4404175 at *2 (E.D. Mo. Dec. 17, 2007) (court declined to dismiss, transfer, or stay
    5   the second-filed declaratory judgment action before it, in favor of a first-filed patent
    6   infringement suit in the Eastern District of Texas, considering in part that the
    7   patentee’s principal place of business and relevant documents were located in
    8   Missouri and the accused infringer did not have a significant presence in Texas).
    9         The convenience and availability of witnesses and other evidence strongly
   10   favors the Central District of California. TCT Mobile U.S. has its principal place of
   11   business in Irvine, California; to the extent any other TCL-related entities have
   12   relevant evidence in the U.S., those witnesses and documents are predominantly
   13   here in Orange County; CCE and its parent company, Acacia Research, are
   14   currently based in Orange County; and the most relevant third party witnesses and
   15   evidence reside with Google, which is also headquartered in California.
   16                1.     Most or All Relevant Witnesses and Evidence in the U.S. Are
                            Located in this Forum Because TCT Mobile U.S. and
   17                       CCE/Acacia Are Based in Orange County
   18         TCT Mobile U.S. has its principal place of business at 25 Edelman, Suite
   19   200, Irvine, California. Yeh Decl. (TCT Mobile U.S.) ¶¶ 4, 8. Its employees are
   20   knowledgeable of the importation, sale, and marketing of the Accused Products in
   21   the United States; product design and customer support for the Accused Products;
   22   features of the Accused Products, including the version of Android code and
   23   messaging applications included in the Accused Products; and the market for the
   24   Accused Products, including customer demand for different features of the Accused
   25   Products. Id. ¶ 10. Each of these individuals are employed by TCT Mobile U.S. in
   26   Orange County, California. Id.
   27         TCT Mobile U.S. also has in its possession documents and records
   28   concerning the importation, sale, and marketing of the Accused Products in the
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
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    1   United States; product design and customer support for the Accused Products;
    2   features of the Accused Products, including the version of Android code and
    3   messaging applications included in the Accused Products; and the market for the
    4   Accused Products, including customer demand for different features of the Accused
    5   Products. Id. ¶ 11. Such documents and records are maintained in Orange County,
    6   California. Id. To the extent that any TCT Mobile U.S. employees or documents
    7   are potentially relevant to the Texas litigation or the present action, they would be
    8   located in Orange County, California. Id. ¶ 12.
    9         More generally, as to all activities of any TCL-related entities related to
   10   marketing, sales, product design, customer support, and customer interactions
   11   regarding the accused products, knowledgeable employees and relevant documents
   12   would be located in the Central District of California. Id. ¶ 13.
   13         Publicly available records indicate that the officers of CCE are located in
   14   Orange County, California. According to reports available from LexisNexis, most
   15   or all the past and present officers of CCE have had their offices in Newport Beach,
   16   California, at the same address listed for CCE’s parent company, Acacia Research
   17   Corporation. Benson Decl. ¶¶ 2-8. According to publicly available records, at least
   18   6 of 8 CCE’s past or current officers have also been officers of Acacia Research,
   19   with offices in Newport Beach and/or Irvine, California. Id. The current
   20   headquarters for Acacia Research Corporation is in Irvine, California. Id.
   21         Although CCE may argue that it is organized in Texas, and perhaps it will
   22   say it has some documents there and some past or current employees, the
   23   overlapping nature of the past and current officers of CCE with Acacia Research
   24   belies any assertion that CCE is a wholly separate Texas-based entity. For
   25   example, the CEO of CCE, Marc W. Booth, is also the VP & Chief Intellectual
   26   Property Officer for Acacia Research and publicly available records list his office
   27   as being the same as that for Acacia. Benson Decl. ¶¶ 2-8. Mr. Booth’s LinkedIn
   28   page similarly identifies his location as Newport Beach, California. Id. Ex. 14.
                                                             MEMORANDUM OF POINTS AND AUTHORITIES
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    1         Finally, CCE waived any objections to personal jurisdiction or venue in this
    2   district by filing a motion to dismiss under Rule 12(b)(3) without raising such
    3   objections. This further confirms that CCE has a regular and established place of
    4   business in this district. Fed. R. Civ. P. Rule 12(h)(1).
    5                2.     Google Is the Developer of the Accused Android Code and
                            Its Witnesses and Evidence Are Also Located in California
    6

    7         CCE’s infringement contentions are based on Android code developed and
    8   supplied by Google. In its Amended Complaint in the Texas litigation, CCE
    9   accuses the “Android Messaging app” in TCL’s “Android phones” of allegedly
   10   infringing the ’923 patent. TCT Mobile U.S.’s Amended Complaint, D.I. 20, Ex. D
   11   ¶¶ 48, 53. Moreover, CCE’s claim chart attached to its Amended Complaint
   12   purports to read limitations of claim 1 of the ’923 patent on the Android code that is
   13   alleged to be on the accused mobile phones. Id. Ex. D at pp. 145-149.
   14         Google is the developer of the Android platform and its relevant witnesses
   15   and records are predominantly located in Mountain View, California. Google has
   16   provided sworn testimony in other litigation that:
   17        Since 2005, Google has principally developed the Android platform at its
   18          headquarters in Mountain View, California.
   19        Google engineers with relevant technical knowledge of the Android
   20          platform are predominantly located in Mountain View, California.
   21        Most significant engineering, sales, and marketing decisions related to
   22          Google’s Android platform are made in Mountain View, California.
   23        Google’s ongoing development efforts, operations, and records regarding its
   24          Android platform are predominantly based in Mountain View, California.
   25        All or nearly all of the documents related to Google’s Android platform are
   26          located in Mountain View California, including technical documents related
   27          to its Android platform.
   28   Benson Decl. ¶¶ 9-10, Ex. 9-12.
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
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    1                3.     The Two Unrelated Cases Filed in Texas Do Not Outweigh
                            the Many Other Factors That Weigh Strongly Against a
    2                       Dismissal or Stay of This Action
    3         CCE has identified 15 prior cases that have been filed in the Eastern District
    4   of Texas since June 2013 involving, in part, CCE’s assertion of the ’923 patent
    5   against other unrelated mobile phone manufacturers. On balance, however, the
    6   other cases pending in that jurisdiction do not change the balance of convenience
    7   factors that otherwise weigh in favor of this forum.
    8         The current case against TCL in Texas is assigned to Judge Gilstrap.
    9   However, all 15 prior cases were assigned to other judges in the Eastern District of
   10   Texas, and all previous orders and determinations were made by different judges,
   11   namely, retired Judge Leonard Davis and Magistrate Judge K. Nicole Mitchell.
   12   Johnson Decl. ¶ 15. As explained by the court in Anza Tech., Inc. v. Xilinx, Inc.,
   13   there are no “practical considerations” in transferring a case to a district that had
   14   previously entered a claim construction order where it was issued by a different
   15   judge than the one presiding over the case. No. 17-cv-0687-WJM-STV, 2017 WL
   16   4864947, *5 (D. Colo. Oct. 27, 2017). In that case, as here, “regardless of whether
   17   this action remains in this District or is transferred to another district, any court
   18   would be capable of reviewing and interpreting [the prior] claim construction order
   19   to the extent applicable.” Id. See also In re Verizon Bus. Network Servs. Inc., 635
   20   F.3d 559, 562 (Fed. Cir. 2011) (“The Eastern District of Texas would have to
   21   relearn a considerable amount based on the lapse in time between the two suits”).
   22   Any “judicial economy” that could have been achieved in the Eastern District of
   23   Texas would have needed to happen years ago, with a judge that had previously
   24   made rulings on this patent. Since that is not the case here, this factor is neutral.
   25         The pendency of two other cases in the Eastern District of Texas also does
   26   not change the balance of relevant factors. The defendants in the OnePlus litigation
   27   have not yet been served, and since those defendants reside in China and must be
   28
                                                               MEMORANDUM OF POINTS AND AUTHORITIES
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    1   served under the Hague Convention—a process that is currently taking a year or
    2   longer—it is uncertain whether or when they will be served. Johnson Decl. ¶ 16. A
    3   motion to dismiss for lack of personal jurisdiction is pending in the other action
    4   against HMD Global. Id. Neither action has advanced, and they may not advance
    5   at all, for any number of reasons. The possibility that Judge Gilstrap may, at some
    6   future time (and for the first time), address issues pertaining to the ’923 patent in
    7   those other two cases, does not override the strong interests of this forum in
    8   resolving the litigation between CCE and the TCL entities.
    9         The remaining § 1404 factors are neutral or favor the Central District of
   10   California. The defendants in the Eastern District of Texas action can be added by
   11   CCE as counter-defendants to this action, but TCT Mobile U.S. cannot be added to
   12   the Texas action, so that factor favors this forum. CCE chose Texas as its forum,
   13   but that choice should be given little weight given that CCE and its parent
   14   company, Acacia, are operationally based in Orange County, California, and the
   15   Eastern District of Texas has no connection with the parties or this dispute. The
   16   convenience of the parties and ease of access to the evidence strongly favors the
   17   Central District of California, as discussed above. This forum has a much stronger
   18   local interest in the controversy than the Eastern District of Texas, which has no
   19   interest in the dispute at all, considering that CCE and TCT Mobile U.S. are based
   20   in this District and Google is headquartered in California. This Court and the
   21   Eastern District of Texas are equally familiar with patent law, and court congestion
   22   does not favor either forum. See generally Google, 2014 WL 1571807 at *10.
   23   IV.   DEFENDANTS IN THE TEXAS ACTION WILL MOVE TO DISMISS,
              STAY OR TRANSFER OF THE TEXAS ACTION
   24

   25         Should this Court deny CCE’s motion to dismiss or stay this action, it is not
   26   anticipated that the litigation in the Eastern District of Texas will proceed in
   27   parallel. Plaintiffs will meet and confer with CCE about consolidating the actions
   28   in this forum. If necessary, the defendants in the Eastern District of Texas will have
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    1   an opportunity to further address the issues of parallel litigation in that forum.
    2   Defendants currently have until September 7, 2020, to respond to the Texas
    3   Complaint, in exchange for waiving service under the Hague Convention.
    4   Defendants intend to move to dismiss under Fed. R. Civ. P. 19 and alternatively,
    5   move to stay or transfer that case to this forum. This Court’s decision on the
    6   pending motion will be considered by Judge Gilstrap when ruling on those motions.
    7         This situation is not usual. When the Court in one of two overlapping actions
    8   declines to dismiss or stay the action before it, and transfer is not an option, the
    9   decision often shifts to the other forum to resolve the issue of the case pending
   10   before it. Thus, in Munchkin, where the district court refused to dismiss, stay or
   11   transfer a second-filed declaratory judgment action in favor of a first-filed patent
   12   infringement action in the Eastern District of Texas, the Court decided to “proceed
   13   with this case, and in the event that the Texas court denies the motion to transfer,
   14   the Court can further address any issue of parallel litigation at that time.” 2008 WL
   15   2486042 at *2. The same approach is warranted here.
   16   V.    CONCLUSION
   17         The entity importing and selling the accused products in the U.S., TCT
   18   Mobile U.S., is a “necessary or desirable party” and has the strongest interest in this
   19   dispute, but it cannot be joined to the Texas action. This is the only Court in which
   20   all of claims and parties can be resolved in a single case. The balance of
   21   convenience factors strongly favors this forum and this Court has the strongest local
   22   interests to protect. CCE’s motion to dismiss or stay should be denied.
   23   Dated:       July 13, 2020                   ROBERT BENSON
                                                     Orrick, Herrington & Sutcliffe LLP
   24

   25                                                By: /s/ Robert Benson
   26
                                                                ROBERT BENSON
                                                                Attorney for Plaintiffs
   27
                                                         TCT MOBILE U.S. (US) INC. and
                                                              HUIZHOU TCL MOBILE
   28
                                                           COMMUNICATION CO. LTD
                                                              MEMORANDUM OF POINTS AND AUTHORITIES
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